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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,                            Case No. 23-cr-20516
                                                  Hon. Matthew F. Leitman
v.

JOHNATHAN MANCIEL,
a/k/a Johnathan Lavon Manciel,

          Defendant.
__________________________________________________________________/

       ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS
           ILLEGALLY OBTAINED EVIDENCE (ECF #16)

      On December 18, 2023, the Court held a hearing on Defendant’s Motion to

Suppress Illegally Obtained Evidence. (See Mot., ECF No. 16.) For the reasons

explained on the record during the hearing, the motion is DENIED.

      IT IS SO ORDERED.

                                     s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE

Dated: December 20, 2023

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on December 20, 2023, by electronic means and/or ordinary
mail.

                                     s/Holly A. Ryan
                                     Case Manager
                                     (313) 234-5126
